                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                  3:21-cv-00499-FDW-DCK

DANIEL T. GRANT LOVE,               )
                                    )
                  Plaintiff,        )
                                    )
vs.                                 )                              ORDER
                                    )
                                    )
SOUTHEASTERN HOSPITAL,              )
                                    )
                  Defendant.        )
____________________________________)

          THIS MATTER is before the Court on initial review of Plaintiff’s Complaint. [Doc. 1].

I.        BACKGROUND

          Pro se Plaintiff Daniel T. Grant Love (“Plaintiff”) is currently a pretrial detainee

incarcerated at Pinellas County Jail in Clearwater, Florida. On September 21, 2021, Plaintiff filed

this action, which he purports to bring pursuant to 42 U.S.C. § 1983 against Defendant

Southeastern Hospital located in Lumberton, North Carolina.1 [Doc. 1]. Petitioner’s Complaint

relates to care he received in January 2020, presumably before he was incarcerated. [See id. at 12-

15]. Plaintiff does not state the relief he seeks in this action. [Id. at 5].

II.        DISCUSSION

          In an action arising under 42 U.S.C. § 1983, venue is established by 28 U.S.C. § 1391(b),

which provides: (b) A civil action may be brought in: (1) a judicial district where any defendant

resides, if all defendants are residents of the State in which the district is located; (2) a judicial

district in which a substantial part of the events or omissions giving rise to the claim occurred, or

a substantial part of property that is the subject of the action is situated; or (3) if there is no district


1   Lumberton, North Carolina, is in Robeson County, which is in the Eastern District.



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              in which an action may otherwise be brought as provided in this section, any judicial district in

              which any defendant is subject to the court's personal jurisdiction with respect to such action.

                       Therefore, under Section 1391, Plaintiff’s action may be heard in a venue where the

              defendant resides, or in the venue where the issue substantially arose, which here is the Eastern

              District of North Carolina. Pursuant to 28 U.S.C. § 1406(a), the Court may dismiss this action, or,

              if it is in the interest of justice, transfer this action to the United States District Court for the Eastern

              District of North Carolina. The Court will transfer this action. In transferring the action, the Court

              does not comment on the merits of Plaintiff’s purported claims.

              III.     CONCLUSION

                       For the reasons stated herein, the Court transfers this action to the Eastern District of North

              Carolina.

                                                               ORDER

                       IT IS, THEREFORE, ORDERED that Plaintiff’s action is transferred to the Eastern

              District of North Carolina.

                       The Clerk is respectfully instructed to terminate this action.


Signed: September 29, 2021




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